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                         INTHE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF GEORGIA
                                              MACON DIVISION
                                                        1:



 JUSTIN    KRAGE and AIDEN RENFROE*
                                                        *

         Plaintiffs,                                    *
                                                        1:



 V.                                                     *      Civil Action N0.:      5:19-CV—00321-MTT
                                                        i:



 MACON—BIBB COUNTY GEORGIA,                             *

 ET AL.,                                                *
                                                        i:



         Defendants.                                    *




      PLAINTIFFS’ BRIEF OPPOSING DEFENDANT MACON—BIBB COUNTY’S
                               MOTION FOR SUMMARY JUDGMENT
         COME NOW,             Plaintiffs in the above—styled civil action,       and hereby ﬁle          this brief


 opposing Defendant Macon-Bibb County’s (hereinafter “Defendant County”) Motion for


 Summary Judgment        pursuant to Federal Rule 0f Civil Procedure 56, showing this Honorable


 Court the following:


                                              I.   INTRODUCTION

         Plaintiffs   ﬁled   suit against   Macon-Bibb County, Georgia and the Bibb County Sheriff" s

 Ofﬁce   (hereinafter “Defendant       BCSO”)       to recover    unpaid overtime wages for “on—call” time


 pursuant t0 the Fair Labor Standards Act (hereinafter “FLSA”), 29 U.S.C. §201                      et.   seq.,   and

 to recover   unpaid “on-call” (“stand-by”) wages pursuant               to Sections 6.06     and 7.05 of the

 Macon-Bibb County Government               Policies and Procedures     Manual (adopted 0n December               3 1,


 2013) (“the Manual”), and pursuant t0 Sheriff David Davis’ October               6,   201 7 Directive/On—call


 Pay Guidelines regarding “stand-by” pay            (the “Directive”).


         Plaintiffs ﬁle this bn'ef in opposition to            Defendant County’s Motion for Summary

 Judgment because        questions      of fact       remain      surrounding   the    existence     0f    (1)    an


 employer/employee relationship between              Plaintiffs   and Defendant County, and        (2) a contract
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  between       Plaintiffs   and Defendant County. Therefore, dismissal of this case                      is   not warranted as


  a matter 0f law and         is   best left as a question before a jury.


                                               II.   STATEMENT OF FACTS

            At    all   pertinent times herein, Plaintiffs         were employed by the Bibb County                   Sheriff’s


  Ofﬁce (“BCSO”) and worked                    in a variety   0f different divisions, including the Trafﬁc Fatality

 Unit (“TFU”), Criminal Investigations Division (“CID”), Special Weapons and Tactics


  (SWAT) team,           Special Investigations Unit (“SIU”), and Crime Scene Investigations-Forensics


  (“CSI—F”). Additionally, Defendant County                       is   considered Plaintiffs’ joint employer With


 Defendant        BSCO under the theory of “joint               employer   liability”   and   is   therefore, liable to    pay

 Plaintiffs for “on-call”           time pursuant to the FLSA.


            When        a constitutional ofﬁcer 0r independently elected ofﬁcial begins his/her term,


 he/she    is   given the option to elect to have the employees of his/her ofﬁce be governed by and


 subject to the terms of the Manual. Speciﬁcally, the ofﬁcer can either elect to have his/her


 employees be bound by               a_ll   of the terms in the Manual,     m     of the terms 0f the Manual, 0r             to


 elect t0    have   their    employees bound by some 0f the terms and exempt                       others.1


            When the       city    and county governments consolidated 0n January                    1,   2014, Bibb County


 Sheriff David Davis (hereinafter “Sheriff Davis”)                      was presented with the above—mentioned

 election    form regarding his employees, deputies, and                  investigators. Sheriff Davis selected the


 option whereby the employees of his ofﬁce would be “governed by and subj ect to the terms”


 0fthe Manual, except for the sections relating t0 hiring, discipline, and the Macon—Bibb County


 Government Employee Problem Solving (grievance) Procedure. 2 This                                        election   form was

 signed by Sheriff Davis on                 March    18,   2014, in his capacity as the Sheriff of Bibb County?




 1   Plaintiff’s Exhibit 1 to   Deposition of Alisha Duhart.
 2   Id.

 3 Id.
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  The County Board of Commissioners subsequently granted                     this request.4       According    t0 the


  County’s      HR      Director, at     n0 time has Sheriff Davis submitted a request            t0 opt out   0f the

 Manual’s “on-call” policy found in sections 6.06 and                 7.05.5 Additionally, there are        n0 other

  County   policies with the exception of those carved out in the election               form     that the Sheriff’s


 deputies are not        bound    by.6


           Within the Manual, under sections 6.06 and 7.05, there              is   a deﬁned “on-call” policy.


 This policy states in pertinent part as follows:


           As  for compensation for the on-call time, the employee will be paid as
           though he/she actually worked two hours for each day 0n Which he/she is on-
           call and four hours for each Saturday, Sunday or Holiday he/she is on-call

           regardless of Whether he/she is actually required t0 respond to a call.
           The rate 0f pay for actual work time while on—call shall be in accordance
           With MBCG pay policy regarding overtime pay. In the event the on-call
           employee must respond to a call during the on-call time, he/she will be paid
           forany time actually worked above and beyond the on-call listed above.7

 Since consolidation, the policies contained in the Manual have been in                 effect.   Despite   this fact,


 Defendant County and Defendant                BCSO have willfully failed t0 compensate Plaintiffs for any

 of their stand-by time spent on-call, Which constitutes a Violation of the policies and procedures


 that   Defendant County implemented and Sheriff Davis elected and adopted for                           Plaintiffs.


 Defendants have breached                this contract   and are responsible for    Plaintiffs’   unpaid overtime


 wages   for “on-call” time pursuant to Sections 6.06              and 7.05 of the Manual, and pursuant            t0


 Sheriff Davis’ Directive/On-Call              Pay Guidelines regarding “stand—by” pay under breach of

 contract.




 4 Alisha Duhart Dep.       17:5-7.
 5 Alisha Duhart Dep. 21, 25: 22—24.
 6 Alisha Duhart Dep. 40:15-19.
 7 Exhibit 4   to the   Deposition of Justin Krage   p. 111.

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                                      III.   ARGUMENT AND CITATION OF LAW
              Summary judgment          is   proper   when no genuine            issue as to any material fact is present


  and the moving party         is entitled to   judgment as a matter of 1aw.8 The movant                       carries the initial


 burden and must show that there               is   “an absence of evidence             t0 support the      nonmoving party’s

  case.” Only         When that burden has been met does                  the burden shift t0 the       non—moving party               to


 demonstrate that there          is   indeed a material issue of fact that precludes                   summary judgment“)

 The nonmovant is then required               “to   go beyond the pleadings” and present competent evidence

 in the       fonn of afﬁdavits, depositions, admissions and the                         like,   designating “speciﬁc facts


 showing       that there is a   genuine issue for          trial.”11



              In the case at bar, the facts establish that Plaintiffs are employees 0f both                            BCSO £1

 the County, such that liability against both Defendants                          is   proper under the        FLSA. The            facts


 also establish that the policy in the                County handbook             calling for     payment 0f         on—call time


 created a valid, binding contract between the Plaintiffs and both Defendants.


              (A)      Defendant County and Defendant                            BCSO        are joint        employers over
                       Plaintiffs pursuant to the FLSA.


              An employment relationship exists between Defendant County and Plaintiffs. Although

 there   is   n0 dispute that Defendant BSCO                is   an employer of Plaintiffs, Defendant County                   is   also


 Plaintiffs’     employer under the joint employer doctrine pursuant                         t0 the   FLSA      and   is    therefore


 liable to     pay   Plaintiffs for their “on—call” time.


              The FLSA      requires covered employers to                  pay    their   employees         at least the federal


 minimum wage            for every hour        worked and overtime               for every hour        worked over 40               in a


 workweek.” To be           liable for   paying     minimum wage             or overtime, an individual or entity               must




 8 Fed.R.CiV.P. 56(0).
 9 Shah v. ClarkAtlanta University, Ina, 1999          WL 1042979 (N.D. Ga.            1999) (citing Celotex Corp.     v.   Catrett,
 477 U.S. 317, 325, 106 S.Ct. 2548, 2554 (1986)).
 10 Shah, 1999       WL 1042979 at 7 (citing Clark     v.   Coats   &   Clark, Ina, 929 F.2d 604,     608   (1 1th Cir. 1991)).
 11 Celotex, 477 U.S. at 324, 106 S.Ct at 2553.
 12 29 U.S.C. §207(2).
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 be an “employer,” which the                   FLSA     deﬁnes as “any person acting directly 0r indirectly in the

 interest    of an employer in relation to an employee?“ Under the FLSA, an                                  employeemay

 have—in          addition to his 0r her           employer—one or more                 joint employers.     The term      joint


 employment means a condition                     in    which a single individual stands in the               relation    of an


 employee         to    two or more persons              at the    same   time.   14
                                                                                       A   determination of whether the


 employment            is to   be considered joint employment depends upon                   all   the facts in the particular


 case.”


            When        determining whether two employers are considered “joint employers,” the


 Eleventh Circuit has recently used a more involved                          test      than the four-factor     test cited    by

 Defendant County in              its    Motion.” Such       test is frequently        used in the context of agricultural


 employment pursuant                   t0 the   Migrant and Seasonal Agricultural Worker Protection Act;


 however, the          test is   not limited t0 the agricultural employment context and has been used t0


 determine joint employment in                  FLSA cases.” Such factors              are as follows:


                         (1)      Whether the employer has the power,                  either alone or through [the entity
                                  supplying the workers], to direct, control, or supervise the workers 0r the
                                  work performed (such control may be either direct or indirect, taking into
                                  account the nature 0f the work performed and a reasonable degree 0f
                                  contract performance oversight and coordination with third parties);
                        (2)       Whether the employer has the power,                      either alone or in addition to
                                  another employer, directly or indirectly, to hire 0r ﬁre, modify the
                                  employment          conditions, or determine the          pay    rates 0r the   methods of
                                  wage payment for the workers;
                        (3)       The degree ofperrnanency and duration 0fthe relationship 0fthe parties,
                                 in the context 0f the activity at issue;
                        (4)      The      extent t0   which the services rendered by the workers are               repetitive,
                                 rote tasks requiring skills that are required with relatively                little   training;

                        (5)      Whether the          activities   performed by the workers are an integral part of
                                 the overall business operation of the employer;
                        (6)      Whether the work is performed on the employer’s premises, rather than
                                 on premises owned or controlled by another business entity; and
                        (7)      Whether the employer undertakes responsibilities in relation t0 the


 13 29 U.S.C. §203(d).
 14 29 C.F.R. §500.20(h)(5).
 15 Id.
 16 Defendant County MSJ,              1115.

 17 Spears   v.   Choctaw      Cnty.   Comm ’n, No.    07-0275—CG—M, 2009   WL 2365188, at *6 (S.D. Ala. 2009).
                                                                    5
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                                 workers which are commonly performed by employers,                                  such as
                                 preparing and/or making payroll records, preparing and/or issuing
                                 paychecks,         paying    FICA     taxes,     providing workers’        compensation
                                 insurance, providing ﬁeld sanitation facilities, housing or transportation,
                                 0r providing tools and equipment           01‘   materials required for the job (taking
                                 into account the       amount 0f the investment)“;

 The Spears case          cited   by Defendant County           is   helpful    when analyzing    the above-referenced


 factors in relation to the case at bar.                However, there are signiﬁcant differences between the

 two, thereby warranting a different result                  by the Court   in the present case.


            (1)      The     ﬁrst factor of the seven—factor analysis considers the “speciﬁc indicia 0f


 control” Defendant          County has over           Plaintiffs.   This factor relates to one 0f the key pieces of


 evidence in this case, which                is   the fact that Sheriff Davis selected option       number two on the

 Macon-Bibb County’s               election form,       which meant      that   he was binding his deputies          to those


 policies    and procedures (aside from the ones carved                   out),   and consequently giVing Defendant


 County the power           to enforce those policies          and procedures against his deputies. The Spears


 court included in         its   analysis Whether or not the county               had the power    t0 force the sheriff’s


 deputies t0 follow the rules           it   passed.   They found that the county’s rules applied t0 the             sheriff’ s



 deputies    if,   and   t0 the extent that, the sheriff decided that the policies applied to the deputies.


 In the present case, Sheriff Davis did exactly that. 19               Although Defendant County does not direct

 or control the day to day activities of law enforcement,                         it   does direct and control       all   other


 policies in the    Manual to Which law enforcement is bound. This factor weighs towards a ﬁnding

 that   Defendant County          is   a joint employer of Plaintiffs.


            (2)      The Mayor of Macon-Bibb County has appointed ﬁve members                              t0 sit   on a Civil

 Service Board (“the Board”), to interview applicants of the Sheriff’s ofﬁce for both                                      initial



 hirings and promotions, and then                    making recommendations             t0 the Sheriff?"   The Board has




 18 Id.
 19   Id.

 20 Alisha Duhart Dep.      31: 7—32: 12.
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 continued to perform this function, and Sheriff Davis has failed to object t0 them performing


 that role,      even in   light   0f the carved out exception for hiring in the election form he signed.


 Therefore, this shows that Defendant County has control over the him'ng and promotion process


 within the Sheriff’s ofﬁce                 at least t0   some   degree.   The Spears     court considered direct


 employment decisions such             as hiring in analyzing this factor.“


                Additionally,   when    deputies apply for promotions they must           sit   in front 0f the   Board

 and undergo an interview. The Board then decides whether 0r not t0 add that applicant’s name

 t0 a   list,   which they then submit to the Sheriff who decides whether 0r not                to   promote someone

 on that    list.   Furthermore, if the Sheriff initiates disciplinary action against one of the deputies,


 including termination, that deputy has a right to an appeal under the Board.”


                Also relevant under         this analysis is that the on-call policy at issue is       included in the


 Manual, Which includes the payment schedule for both stand-by time and time actually worked.

 The Manual         also contains a formulation of pay rates          and the method ofpayment t0 employees,

 which     is   Via direct deposit or       by a check if they prefer. Indeed, the paychecks          that the deputies


 receive        come on    a County paycheck, and Defendant County also sets the budget for the


 Sheriff’s ofﬁce.” Further,          Defendant County provides workers’ compensation coverage t0 the


 deputies at the request of the Sheriff?“ Defendant County having a role in hiring, promotion,


 termination, and          methods of payment and pay              rate   0f the   sheriff’s deputies supports the


 conclusion that Defendant County                is   a joint employer of Plaintiffs.


            (3)        The Spears     court found that the third factor      was not relevant t0 the employment

 arrangement such as the one            at issue in the     present case and therefore did not consider           it.   For


 that reason, the Plaintiffs will not provide              an analysis under   this factor.




 21 Spears, 2009 WL 2365188 at         7.

 22 Alisha Duhart Dep. 5 1: 4-9.
 23 Id. at 35: 9-22.
 24 Id. at 24: 13—17.
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          (4)        Being   that   many of      Plaintiffs   work    in different divisions with different job


 requirements, most 0f          Whom    have     different training     from one another,        it is   challenging t0


 analyze this factor Without performing an in—depth analysis of each                   Plaintiff.     However,   for the


 sake 0f this Court’s valuable time and based on the analysis 0fthis factor by the court in Spears,


 because there are numerous law enforcement agencies and                      sheriff’s   departments in this      state,



 that   may    tend t0   show   that the deputies’ skills are marketable           and therefore does not weigh

 heavily in favor 0f Plaintiffs.


          (5)        The   the activities and functions that the Plaintiffs perform are an integral part


 of Defendant County’s “overall operation” in that they provide an indispensable service t0


 Defendant County by protecting                its   residents    from crime and accidents, providing trafﬁc

 control, participating in specialized          programs involving driving under the inﬂuence and drug

 and alcohol prevention, as well                as    engaging in community involvement t0 better the


 communities in Macon-Bibb county as a whole. Without                       sheriff’s deputies,      Defendant County

 could not function or perform         its   necessary operations. Through their protection 0f the citizens


 of Macon-Bibb County, as well as the multitude of other ways in which they help t0 keep the


 County running smoothly,           it is   clear that their roles are indispensable t0           Defendant County.


 Therefore, this factor weighs in favor of ﬁnding Defendant County to be a joint employer of


 Plaintiffs.



         (6)         Plaintiffs   contend that       this factor   should be analyzed differently than by the


 court in Spears. In the present case, Plaintiffs have brought a claim against Defendant County


 as a whole.    As   sheriff’s deputies for the county, Plaintiffs           were required      to   work on a   variety


 of different premises as a part 0f their job responsibilities. However,                  all   of those premises are


 within the boundaries of Macon-Bibb County. This factor should not be analyzed in terms 0f


 how much       time the Plaintiffs worked on exclusive county property compared to                         how much

 time they spent 0n the sheriff’s ofﬁce premises. If                 this   Court did so choose to analyze          this


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  factor in that way,    it   should be noted that       many of the      Plaintiffs      only spend a fraction of their

                                                                                 25
  working time      at   the location of the             sheriff’s      ofﬁce.         The nature 0f       their jobs    as


  deputies/investigators       would not allow them             t0 solely or       even routinely work only 0n the


  premises 0f     BCSO-owned           property.   The   Plaintiffs’     presence in Macon—Bibb county and on


  county property has a direct bearing on their work responsibilities. Accordingly,                              this factor


  weighs in favor 0f ﬁnding Defendant County                  t0    be a joint employer of Plaintiffs.


            (7)    This ﬁnal factor looks to activities such                 as:   preparing and/or making payroll


  records, preparing and/or issuing paychecks, providing workers’ compensation insurance 0r


 providing tools and equipment or materials required for the job. Here, Defendant County does


  all   of the above for the     sheriff’s deputies. In addition,            Defendant County: posted available


 positions Within the Sheriff’s Department through their                     human        resources department, offers


 beneﬁts to the deputies, including medical, vision, dental, and basic                        life,   makes   contributions


 to retirement    and pensions on behalf of the deputies, provides certain deputies with county-


 issued vehicles, provides IT support to the deputies, assigns the deputies county emails,


 provides employee assistance programs to the deputies,                    lists   themselves as the employer of the


 deputies on tax documents for tax return purposes, and budgets for the cost of legal defense on


 behalf of the Sheriff’s ofﬁce if an attorney            is   required t0 be hired.“


           Being that Defendant County handles                all   ofthe above       activities, this factor   weighs very


 heavily in favor of ﬁnding Defendant County t0 bé a joint employer 0f the Plaintiffs.


           When   weighing       all   of the above factors together,            it is   clear that    Defendant County

 meets the deﬁnition 0f“employer” under the FLSA and should be classiﬁed as ajoint employer


 with Defendant     BCSO        over the   Plaintiffs.   To ﬁnd otherwise would allow Defendant County

 and Sheriff Davis to bind the deputies             t0 its policies       and procedures         unilaterally in that the




 25 Renfroe Dep. 26: 16-25; Thompson Dep. 39: 2—6; Robinson Dep. 26: 19-25, 27: 1—17; Baker Dep. 28: 12—25.                    .




 26 Alisha DuhartDep. 14: 15-20, 21: 18-25, 22: 1-12, 27: 5—18; 29: 9-14, 30: 2—5, 42: 6—25, 43: 1, 59: 10—13.
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  deputies can be held responsible for abiding                            by the Manual 0r     else Iisk   being punished, but


  Defendant County, Defendant                          BCSO, and     Sheriff Davis cannot be held responsible for their


  own   Violations 0f the Manual.                       Such an allowance would be a gross abuse of power against

  those    who        dedicate themselves to protecting the residents of Macon-Bibb county.


             (B)             The Manual               constitutes a contract         between both Defendants and the
                             Plaintiffs.


            In Georgia, the essential elements 0f a breach of contract claim are (1) a valid contract;


  (2) material         breach 0f         its   terms; and (3)       damages    arising therefrom.”     Under Georgia law,               t0


  constitute a valid contract, there                     must be parties able    to contract, a consideration     moving to the

  contract, the assent               of the parties t0 the terms of the contract, and a subject matter upon which


  the contract can operate.”                    An action     for breach     of contract requires breach of a valid contract


  and resultant damages                   t0 the party        who   has the right to complain about the breach.” The


  burden    is    0n the          plaintiff to      show both   the breach and the     damage.”

            In the case at bar, regardless of whether or not Defendant                           County    is   a joint employer


  of the   Plaintiffs for            FLSA purposes,           a contractual relationship nonetheless exists between the


  two based 0n the above referenced Manual. Courts have consistently held                                         that    employee

  handbooks can be considered a contract with respect                                to the   employment beneﬁts provided

  therein.“ Additionally,                 it is     accepted law of this State that “provisions in an employee manual


  relating to additional               compensation plans, 0f which an employee                  is   aware,    may amount         to   a


  binding contract between the parties,” as                         may   “a promise 0f future compensation          made        at   the


  beginning 0f the employment relationship?”



  27 Brooks      v.   Branch Banking and Trust            Co., 107 F. Supp.   3d 1290, 1295 (N.D. Ga. 2015).
  28 O.C.G.A. §13—3-1.
  29 Kabir   v.   Statebridge C0.,       LLC, 2011 WL 4500050, at *6 (N.D. Ga. 201 1).
  3O Atlantech        Inc.   v.   American Panel Corp, 743 F.3d 287, 292 (1st Cir. 2014).
  31 Fulton—Dekalb Hosp. Auth.                 v.   Metzger, 203 Ga. App. 595, 596 (1992) (See Georgia Ports Auth.       v.   Rogers,
  173 Ga. App. 538, 327 S.E.2d 511 (1985)).
  32 Fletcher   Amax, Ina, 160 Ga. App. 692, 693—694 (1981); Ellison v. Dekalb Cnty., 236 Ga. App. 185, 186
                  v.

  (1999); Shelnuttv. Mayor, 333 Ga. App. 446 11.6 (2015) (distinguishing from Tackett v. Georgia Dept. 0f

  Corrections, 304 Ga. App. 3 10 (2010), “we interpret Tackett as holding that the permissive policy at issue in
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              The   Ellison court Cited t0 three cases as examples 0f this principle of law:               the ﬁrst


  case held that an employee handbook that contained a disclaimer almost identical t0 the one in


  the present case       was a binding      contract with respect to the          employment beneﬁts provided

  therein (payment of full salary if injured               on the job) because       it   constituted an additional


  compensation plan offered by the employer and impliedly accepted by the employee                             at the



  time that employment relationship began.” In the second case, the court held that a plan for


  severance pay, offered by the employer and impliedly accepted by the employee, constituted a


  contract     between them and was therefore not void based 0n the accepted law                       cited   above

  regarding additional compensation plans.“ In the third case, the court found that the employee


  had received the employees’ handbook, which contained the employer’s policy on vacation


  pay and how vacation        is   earned. Again, based        on the law regarding employment beneﬁts and

  additional compensation plans, the court held that the policies in that                     employee handbook

  constituted a part of the employee’s contract 0f employment.”


              The Ellison court    stated that the reasoning in the three         above-mentioned cases was that

  the    employment beneﬁts and/or             additional compensation plan set forth in the               manual

  represented an offer      by   the employer    which the employee implicitly accepted by remaining              in


  employment.“ However, the Court              also noted that not ill provisions in        employee manuals are

  t0   be considered binding agreements.” For example, the Ellison court noted                       that they   had

  previously held that personnel manuals stating that employees can be terminated only for cause


  and setting forth termination procedures are not contracts of employment and that                      failure to




         was more akin to policies setting forth certain procedures to be followed in connection with
  that case
  employment decisions than to policies providing for additional amounts or kinds of compensation.”).
  33 Fulton    at 596.

  34 Fletcher at 695.
  35 Shannon v. Huntley’s Jiﬂﬁ)    Stores, Ina, 174 Ga.   App. 125, 126 (1985).
  36 Ellison at 186.
  37   Id.

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  follow the termination procedures contained in them                     is    not actionable.”      The reason Why        this


  case       is   synonymous      t0 the   Shannon, Fletcher, and Metzger cases             is    that the subject “on-call”


  provision constitutes an additional compensation plan or an employment beneﬁt, not a


  condition of employment 0r Violation thereof.                    The key takeaway from               these cases     is that   a


  handbook can be a contract With respect               to   employment beneﬁts provided                 therein, as   we have

  here With the provision for payment of on—call time.


                  When SheriffDavis exercised his option of electing coverage ofpolicies in the Manual

  by which his deputies would be governed,               this resulted in Sheriff Davis entering into a contract


  with Defendant County 0n behalf of his employees. The consideration for                                this   agreement was

  that    Defendant County would provide valuable services to the Sheriff’s ofﬁce/deputies, such


  as those outlined in the          Manual, and in return, the deputies provide their own valuable services


  to   Defendant County.           A part of that contract included the provision for and calculation of on-
  call   pay t0 be paid t0 the sheriff s deputies. At consolidation,                  Plaintiffs   were required t0 review

  the    Manual and sign off 0n it as part 0ftheir new employment with the County.” Sheriff Davis

  signed that election form shortly after consolidation, thereby constituting the beginning of the


  employment relationship between Defendant County, Sheriff Davis, and the                                 sheriff’s deputies,


  including Plaintiffs.


                  In addition to holding that promises of future compensation                     made   at the   beginning 0f


  the    employment           are enforceable, courts   have also required             that the   promise be for an exact

  amount or based upon a “formula or method                  for determining the exact             amount of the b0nus.”4°

  The Manual             in this case does exactly that. Speciﬁcally,          it   provides that


                  [a]s   compensation for the on—call time, the employee will be paid                    their regular hourly




  38   Id.

  39 (Krage Dep. 57: 8-10); (Renfroe Dep. 25: 22-25, 26: 1-5).
  40 Arby’s v. Cooper, 265 Ga. 240 (1995) (citing Christensen        v.   Roberds ofAtlcmta, Ina, 189 Ga. App. 289
  (1988)).
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             rate for      two hours   for each     day on which he/she           is   on-call and four hours for each


             Saturday, Sunday 0r Holiday he/she              is    on-call regardless 0f whether he/she          is   actually


             required t0 respond to a       call.   On—call time      is   not time actually worked and will not be


             included      when    calculating overtime.


  This method helps determine the exact               way the employees’           on—call     pay will be   calculated.


             If it is    determined that the Manual as a whole does not constitute a contract, this Court


  should     at   a    minimum ﬁnd     that the provision regarding on—call             pay    creates a binding contract.


  Courts have allowed provisions in an employee manual relating to employment beneﬁts and


  additional compensation plans to            amount        t0 a   binding contract, reasoning that the additional


  compensation plan            set forth in the     manual represents an          offer   by    the employer,    which the

  employee implicitly accepts by remaining in employment.“ The Manual’s provision                                           for


  payment of on-call          time,   which equates    t0   an employee beneﬁt or an additional compensation


  term,   was offered        t0   and impliedly accepted by the            Plaintiffs    and forms a binding contract

  under Georgia law.


             Although the Manual contains boilerplate language disclaiming the creation of a

  contract,       it   also contains language stating that          employees are expected           to   comply with the

  policies and procedures set forth in the                  Manual and        that failure to      d0 s0 could        result in


  termination 0f employment. Defendants should not be permitted to force the Plaintiffs to abide


  by   the   Manual while simultaneously refusing                    t0 abide     by   their   own   representations and


  obligations within that          same document. Therefore,           if this   Court ﬁnds that the terms within the


  Manual       are contradictory and/or ambiguous, the Court should construe the terms against


  Defendant County as the drafter of the agreement. Defendant County was in a superior


  bargaining position in that if Sheriff Davis did not elect to have his employees covered by the




  41 Ellisonat 186; Fulton at 596 (holding that “the policies in the employee handbook of which [appellee] was

  aware form[ed] a part 0f [his] contract for employment”).
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  Manual, he would have n0 other means to obtain such resources. Construing the Manual

  against Defendant           Cmunty warrants a ﬁnding                     that all parties intended to    be bound by the

  Manual, and speciﬁcally the policy regarding payment 0f on—call time.

             Furthermore, the Johnson case cited by Defendant County in support 0f its contention


  that the   Manual cannot serve to form             the basis 0f a contract between the parties has substantial


  differences t0 the case at hand. First, in Johnson, the court found that the pertinent                                     handbook

  did “not establish the speciﬁc and comprehensive tenns of employment with the county,” but


  “merely summarizes and acquaints employees with their rights, privileges, and obligations?“


  They further found that           “[t]he speciﬁc rules actually governing                  employee rights   (.   .
                                                                                                                        .)   are   found

  in the county personnel regulations,               which implement the              Civil Service    Act” and          that “[t]he


  handbook and the regulations expressly notify employees                            that they   must consult the personnel

  regulations t0      be   fully   informed about their          rights, privileges,        and 0b1igations.”43


             Here, the Manual        is   a standalone instrument that does not refer to any separate


  document      that the     employees should consult with regards                   to the substantive details          of their


  employment. Instead, the Manual was intended                             to provide the   employees with a summary 0f

  the rules and regulations governing their relationship with Defendant County, as well as


  providing information 0n What              is   expected of them, and the standards by which their


  performance        is   evaiuated.“ Because the terms of the Manual in the present case are


  comprehensive, Johnson             is   distinguishable and fails to provide a helpful analysis in the


 present case.




 42 Johnson    v.   Fulton Cnty., 235 Ga. App. 277, 278 (1988).
 43   Id.

 44 Exhibit 4   to the Deposition of Justin       Krage   p. 6 112.

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                 (C)       The Manual is not void because                 it   does not seek to improperly bind future
                           authorities.


                 This Court should ﬁrst 100k t0 the four factor test set forth in City ofPowder Springs


  when considering whether 0r not the contract                      as contained in the            Manual   is   even subj ect to the

  prohibitions of O.C.G.A. §36-30—3(a).45                        Those   factors include: (1)             Whether the contract             is



  governmental in nature and hence subject to the prohibition, 0r proprietary and hence not


  subj ect t0 the prohibition; (2) if governmental in nature,                      is    the contract subj ect t0 an exception;


  (3) if not, is the contract subject to ratiﬁcation                     and has    it   been ratiﬁed; and         (4) if not, is the


  municipality estopped from relying 0n the statutory provision. In City ofAthenS                                       v.   McGahee

  et.    al.,   the court found that the ordinance providing severance                         pay   to retiring    employees            fell



  within the “express authority” exception to O.C.G.A. §36-30—3.46 Speciﬁcally, the court stated:


                The    trial   court here properly considered the four tests 0f whether a municipal contract


                is   subject t0 the prohibition of O.C.G.A. §36-30-3(a) as set forth in City                                 ofPowder

                Springs [citation omitted], and            we     agree with      its    ﬁnding     that in   View of the charter

                provisions       conferring      broad     authority       upon     the      city    t0    ‘establish        a    pension


                system...upon such terms and conditions as the Mayor and Council of the City of


                Athens     shall      deem    proper,’    the contract clearly             fell    into the express              authority


                exception.“


                The    contract Within the       Manual    in the present case is clearly governmental in nature,


  however, similarly             to City    ofAthenS,    it is   subject to an express authority exception.“ In the


  Macon—Bibb County Charter section                      11(b)(4), the     Macon—Bibb County Commission                           is   given


  the broad          power     t0 “adopt ordinances establishing                any and      all   personnel policies            it    deems




  45    City    ofPowder Springs v. WMMProperties, Ina, 253 Ga. 753, 756-757                  (1985).
  46    City ofAthens   v. McGahee, 178 Ga. App. 76 (1986).

  47    Id. at 78-79.
  48    City ofSummervz'lle      v.   Georgia Power Ca, 205 Ga. 843 (1949) (holding that contracts within the express
  authority of a city charter are not within the prohibition that one city council  may not bind another).
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  necessary for an adequate and systemic handling ofpersonnel affairs.” Because the contract at


  issue   is   within the express authority 0f the County Charter,                        it is   not subj ect to the prohibition


  set forth in       O.C.G.A. §36-30-3(a).


               While      still   analyzing the application of O.C.G.A. §36-30-3(a) under the test set forth


  in City      ofPowder           Springs, even if this Court ﬁnds that the express authority exception does


  not apply,         it   should        still   ﬁnd   that   Defendant County has essentially ratiﬁed the on—call


  provision      by paying          its   other employees for on-call time pursuant t0 the                    same    provision, and


  that the     County is therefore estopped from relying 0n the                       statute.    Defendant County argues that


  the on—call policy              is   void under O.C.G.A. §36-30-3(a) because                       it   would    create long-term


  relationships With              employees limiting the authority of the successor 0f local governments t0

  modify those            relationships.          However, Defendant County has                   failed to   acknowledge         it   has


  provided on-call pay to                 all   of its other employees that are bound by the Manual, except for the

  sheriff’s deputies.”                 Defendant County should be estopped from arguing that the on—call


  provision     is    void as t0 the sheriff’s deputies because                it   violates the statute but at the        same time

  pay    their other      employees on-call pay based on the exact same provision.


             Lastly,      even     this    Court ﬁnds that O.C.G.A. §36—30-3(a) does indeed apply t0 the 0n—


  call   policy within the Manual,                    it   should ﬁnd that the on-call policy nonetheless does not


  improperly bind future authorities because                      it is   merely another employment term that                is   part of


  an employment compensation package such as salary, sick leave, or vacation pay. Defendant


  County inaccurately concludes                    that the on-call     pay provision in the Manual seeks t0 improperly

  bind future authorities and                   is therefore,   void.   However, What Defendant County has                    failed t0


  appreciate     is   the difference between the subject on-call provision and the various provisions in


  the cases that they have cited in their Motion. For example, Defendant                                   County highlights the




  49 Alisha Duhart Dep. 46:1-21. (Ms. Duhart deposed that Macon—Bibb County employees                             that are on-call will
  receive payment that is provided based on the same formulation as mentioned above).
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      holding in Johnson, Which states that a requirement of the county to give annual four percent

 vs
      salary increases t0             its       employees cannot legally bind the county t0 approve 0r fund pay

      increases in the future because that                         would prevent        free legislation      by binding    future county


      authorities t0 approve annual salary increases.”


                 Defendant County also                 cites to      a case that held that a provision in a contract between a


      city   and   its   employees guaranteeing twelve months salary as severance pay was unenforceable

      because      it   restricted the ability         of a successor council            t0   terminate an employee’s employment


      and    t0 enter into        an agreement with others.“ The true issue With the severance pay provision


      in City    ochDonough was that ifthe city elected to terminate the contract between themselves

      and    their   employees, they were                  still   required t0 pay the employees for twelve months salary,


      plus insurance and retirement beneﬁts.”


                 The provisions                in the above-referenced cases cited              by Defendant County were          all   held


      to   be unenforceable because they violated O.C.G.A. §36—30—3, which contains the prohibition

      against binding subsequent council.                          However, the on-call provision              at issue   does not violate


      that statute because                it   does not have the effect of unlawfully binding subsequent council.


      Unlike in those cases, the on—call provision                       at issue      does not guarantee annual salary increases


      for an indeterminable period 0f time, nor does                         it   provide for a required lump        sum if the contract

      is   terminated that        still   has t0 be paid to the employees regardless                   ofwho occupies the governing

      position.      What    it   instead does        is   simply authorize payment for time spent on—call and provide


      the formula for calculating said payment.                        The   on-call provision is akin t0 a policy authorizing


      payment of overtime, vacation pay, 0r personal                                 leave.   There   is   no part of the provision that

      binds a successor t0 future payments.                            Furthermore, if the Sheriff and County follow the




      50 Johnson at 279; (Defendant County also cites to Int’l Broth. ofPolice Officers Local #471 et al. v. Chatham
      Cnty., 232 Ga. App. 507 (1998) in their motion, which also involves an unenforceable provision for annual
      salary increases with similar reasoning and holding to that by the Johnson court.)
      51 City ochDonough v. Campbell, 289 Ga. 216, 710 S.E.Zd 537 (2011).
      52   Id.

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  Manual and pay          Plaintiffs on-call          time as   it is   earned, at the time the contract               is   terminated,


  there   would be no           additional         money   or   lump sum        that they or their successors                would be

  required t0 pay out in the future.


                                                                CONCLUSION

            Defendant County             is   a joint employer of the Plaintiffs and therefore                 is liable     under the


  FLSA to pay them for the unpaid,                    on—call time that they have earned.            However,          if this   Court


  ﬁnds    that   Defendant County             is   not a joint employer 0f the Plaintiffs,       it       should   still    ﬁnd   that


  the Manual, 0r at the least the policy requiring payment of on-call time, creates a binding


  contract   between      all   relevant parties based          on the    facts   above and   that    Defendant County has


  breached that contract, thereby causing damages                        to Plaintiffs. Lastly, this        Court should ﬁnd


  that the on-call provision is not subject to                  O.C.G.A. §36-30-3(a) because                it falls   within the


  “express authority” exception. However, if it ﬁnds that the provision                              is   not subject to the


  exception,     it   should    ﬁnd that Defendant County is estopped from                    relying       0n O.C.G.A. §36-

  30-3(a) because        it   pays on—call time         t0 all other    County employees except              for the Sheriff’s


  deputies. If this     Couﬁ ﬁnds         that      Defendant County       is   not estopped,   it   should ﬁnd that the on-


  call policy    does not have the effect of binding subsequent council. Therefore, summary


  judgment should be denied in favor of the                     Plaintiffs.




  Respectfully submitted,




                                   [4,
                       This    / 7 day ofJune            2021.




                                                                           ﬂ/mm
                                                                              STMJHEN M. WELSH
                                                                              Georgia Bar N0. 747900
                                                                              Attorneyfor Plaintiﬁfv



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  BUZZELL, WELSH & HILL, LLP
  200 Third Street
  P.   O.   Box   101 7
  Macon,     GA      3 1202-101 7
  Telephone:          (478) 742-8820
  Facsimile:          (478) 742-3088
  E—Mail:             swelsh@bwhlegal.com




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                                        CERTIFICATE OF SERVICE

           Ihereby     certify that a   copy of the foregoing PLAINTIFFS’ BRIEF          OPPOSING
  DEFENDANT MACON—BIBB COUNTY’S MOTION FOR SUMMARY JUDGMENT
  was mailed   ﬁrst—class mail, postage prepaid, t0 attorneys for             Macon-Bibb County:

                                            Grant Greenwood, Esq.
                                             Duke   R. Groover, Esq.
                                          Christopher R. Conley, Esq.
                                      James-Bates—Brannan-Groover, LLP
                                            231 Riverside Dr # 100
                                               Macon,     GA 3 1201
                                          dgroove1‘@iamesbatesllp.00m
                                        ggreenwood®iamesbatesllp.com
                                          cconlev@ia1nesbatesllp.com
                                 Attorneysfor Macon~Bibb County, Georgia


                                          Dawn Maynard Lewis,          Esq.
                                             Virgil L.   Adams,   Esq.
                                        Adams, Jordan    & Herrington, P.C.
                                          577 Mulberry     St, Suite   1250
                                          Macon, GA 31201
                                       dlweis@adamsiordan.com
                                      vadams@adamsiordan.com
                          Attorneysfor Defendant Bibb County Sheriff’s Office


                        ,u.
           This/7             dayof   Juma            ,2021.




                                                         STQHEN M. WELSH
                                                         Georgia Bar No.2 747900
                                                         Attorney for Plaintiffs


  BUZZELL, WELSH & HILL, LLP
  200 Third   Street
  P.O.   Box 1017
  Macon, GA 31202-1017
  (478) 742-8820
  swelshgchwhlegalcom




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